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                                                                United States Bankruptcy Court
                                                                 Central District of California
In re:                                                                                                                   Case No. 24-10139-MB
Tae Yeon Keum                                                                                                            Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0973-1                                                    User: admin                                                                 Page 1 of 1
Date Rcvd: Mar 12, 2024                                                 Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 14, 2024:
Recip ID                  Recipient Name and Address
db                      + Tae Yeon Keum, 17627 W Sammy Ln, Northridge, CA 91325-2359

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 14, 2024                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 12, 2024 at the address(es) listed
below:
Name                                Email Address
Amitkumar Sharma
                                    on behalf of Creditor BMW Financial Services NA LLC, c/o AIS Portfolio Services, LLC amit.sharma@aisinfo.com

David Seror (TR)
                                    dseror@bg.law csalazar@bg.law;C133@ecfcbis.com;mgalvan@bg.law

United States Trustee (SV)
                                    ustpregion16.wh.ecf@usdoj.gov

Walter Pena
                                    on behalf of Interested Party Bewley Lassleben & Miller walterp@bewleylaw.com, walterpena@gmail.com

Walter Pena
                                    on behalf of Creditor Otter Lake Farm LLC walterp@bewleylaw.com, walterpena@gmail.com


TOTAL: 5
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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


 Walter Peña, State Bar No. 247469                                                                       FILED & ENTERED
 BEWLEY LASSLEBEN & MILLER, LLP
 13215 Penn St., Suite 510                                                                                       MAR 12 2024
 Whittier, CA 90602
 (562) 698-9771
                                                                                                           CLERK U.S. BANKRUPTCY COURT
 walterp@bewleylaw.com                                                                                     Central District of California
                                                                                                           BY Cetulio DEPUTY CLERK




      Attorney for Movant
      Movant appearing without an attorney

                                        UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA -SAN FERNANDO VALLEY DIVISION

 In re:                                                                       CASE NO.: 1:24-BK-10139-MB

 TAE YEON KEUM                                                                CHAPTER: 7

                                                                                 ORDER GRANTING MOTION FOR RELIEF
                                                                                   FROM STAY UNDER 11 U.S.C. § 362
                                                                                       (UNLAWFUL DETAINER)

                                                                              DATE:      March 5, 2024
                                                                              TIME:      10:00 a.m.
                                                                              COURTROOM: 303
                                                                              PLACE:


                                                              Debtor(s).
 Movant: OTTER LAKE FARM, LLC, an Arkansas limited liability company



1. The Motion was:                    Opposed               Unopposed                Settled by stipulation

2. This order applies to the following real property (Property):
    Type of property:            Residential            Nonresidential
    Street Address:                      150 S. Bimini Place
    Unit/Suite number:
    City, State, Zip Code:               Los Angeles, CA 90004

3. The Motion is granted under:
    a.         11 U.S.C. § 362(d)(1)
    b.         11 U.S.C. § 362(d)(2)



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      c.          11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                  creditors that involved:
            (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                       secured creditor or court approval; and/or
            (2)        Multiple bankruptcy cases affecting the Property.
            (3)        The court          makes          does not make             cannot make a finding that the Debtor was involved in
                       this scheme.
            (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
                order is binding in any other case under this title commenced by or against any debtor who claims any
                interest in the Property purporting to affect such real property filed not later than 2 years after the date of the
                entry of this order by the court, except that a debtor in a subsequent case under this title may move for relief
                from this order based upon changed circumstances or for good cause shown, after notice and a hearing. Any
                federal, state or local government unit that accepts notices of interests or liens in real property shall accept
                any certified copy of this order for indexing and recording.

4.          As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.          Terminated as to the Debtor and the 'HEWRU¶VEDQNUXSWF\HVWDWH
      b.          Modified or conditioned as set forth in Exhibit                   to this order.
      c.          Annulled retroactive to the bankruptcy petition date. Any postpetition acts taken by or at the request of the
                  Movant to enforce its remedies regarding the Property, including without limitation entry of any order,
                  judgment or writ, do not constitute a violation of the stay.
5.          Movant may enforce its remedies to obtain possession of the Property, including lockout, in accordance with
            applicable nonbankruptcy law, but may not pursue any monetary claim against the Debtor or property of the estate
            for amounts attributable to the period before the bankruptcy was filed except by filing a proof of claim pursuant to
            11 U.S.C. § 501.

6.          Movant shall not cause the Debtor to be locked out before (date)                                    .

7.          The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
            the same terms and conditions as to the Debtor.

8.          The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.    This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
      of the Bankruptcy Code.

10.         This order is binding in any other bankruptcy case commenced by or against any debtor who claims any interest
            in the Property, or purporting to affect the Property filed not later than 2 years after the date of entry of this order,
            except that a debtor in a subsequent case may move for relief from this order based upon changed circumstances
            or for good cause shown, after notice and hearing.

11.         This order is binding and effective in any bankruptcy commenced by or against the Debtor for a period of 180
            days from the hearing of this Motion.

12.         This order is binding and effective in any bankruptcy commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion.
      a.          without further notice.
      b.          upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                  nonbankruptcy law.




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13.        A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
           of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion.
      a.        without further notice.
      b.        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                nonbankruptcy law.

14.        Other (specify):




                                                                            ###




                   Date: March 12, 2024




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